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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS

MARSHALL DIVISION
CANDICE CLARK MORRIS, a Texas
Resident, Individually and as Next Friend
of A.C., a Minor
Plaintiff,
Vs. CIVIL ACTION NO. 2:23-cv-00460-JRG

KIA MOTORS CORPORATION, a
Korean Corporation, KIA AMERICA, INC.,
a California Corporation, and
GRACO CHILDREN’S PRODUCTS, INC.
a Delaware Corporation

Defendants.

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DECLARATION OF DO GYUN KIM

Hwaseong-Si, Gyeonggi-do §
South Korea :
I, Do Gyun Kim, state as follows:
1. My name is Do Gyun Kim. I am over the age of 21, of sound mind and body, and

capable of making this declaration. I make this declaration based upon my personal knowledge.
The statements contained herein are true and correct.

De I have been asked to prepare this declaration in response to the September 4, 2024
Order (Docket No. 54). Specifically, this declaration is to confirm that: (1) Hyundai Motor India
Engineering (““HMIE”) created computer modeling for the 2014-2018 and 2019-2024 Kia Forte
that was sent to Kia Corporation (“KC”), which in turn was sent to ESI Korea Co., Ltd. (“ESI
Korea”) to run analysis on the modeling, ESI Korea then sent the modeling results back to KC; (2)
KC is not in possession of any side structure computer models, including input data/files,
associated with the 2014-2018 Kia Forte and has confirmed that no related entities or third parties
have possession of any side structure computer models for the 2014-2018 Kia Forte in their records;
and (3) Underlying input data/files for the side structure computer models associated with the
2019-2024 Kia Forte exists and will be produced as maintained in the ordinary course of business
by KC and as received by KC from HMIE.

3. I am legal counsel for KC and have been with KC since 2024. KC is a foreign
national corporation organized and existing by and under the laws of the nation state of the

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Republic of Korea (South Korea). Generally, as Legal Counsel of the International Legal team
with KC, my duties include managing North American product liability litigation.

4. I have personal knowledge of the systems and processes KC follows in its regular
business practices regarding vehicle design and development and the form and retention of design
and development information. Because of my position at KC, I am authorized to search for and
access such retained design and development information, if any.

5: I am familiar with the allegations asserted by Plaintiff in this lawsuit and understand
Plaintiff’s requests associated with side structure computer models for the 2014-2018 and 2019-
2024 Kia Forte model runs. The vehicle at issue in this case is a 2016 Kia Forte, VIN
KNAFX4A67G5608348 (referred to as the “Subject Vehicle”) which is part of the 2014-2018 Kia
Forte model run. Plaintiff brings defect claims against KC related to the occupant cabin structure/
side structure of the Subject Vehicle.

6. KC either conducts its computer modeling in-house or through its related entities
and/or with other third parties. Ifthe computer modeling or analysis of computer modeling is done
through third parties, all related materials are returned or destroyed in accordance with a
confidentiality agreement at the completion of their services. Third parties that conduct computer
modeling for KC are prohibited from sending any such computer modeling to any entity other than
KC. Any third party who performs computer modeling or analysis are subject to a security team
inspection to ensure all the computer modeling has been timely deleted.

7 The computer models for both the 2014-2018 and 2019-2024 Kia Forte model runs
were created by HMIE. HMIE is an entity separate from but related to KC. Once the models were
generated by HMIE, HMIE sent the models to KC. KC used ESI Korea to conduct analysis on the
computer modeling for the side structure of both the 2014-2018 Kia Forte and the 2019-2024 Kia
Forte. ESI Korea is a third party, unaffiliated with KC. ESI Korea ran the results of the computer
modeling and sent those results back to KC. Regarding the transmission of side structure computer
modeling and input data/files for the 2014-2018 and 2019-2024 Kia Forte model runs,
confidentiality agreements were in place between ESI Korea and KC. Under the confidentiality
agreements, ESI Korea was required to return or destroy all side structure computer modeling it
generated or analyzed for the 2014-2018 Kia Forte and the 2019-2024 Kia Forte to KC once the
development periods were over. Because of the amount of space taken up by computer modeling,
the actual computer models and analysis are not maintained on KC’s internal system. Instead,
when maintained, KC will retain the underlying data used to create the models and analysis as
input files in KC’s internal system.

8. I have searched KC’s internal system and have confirmed that KC no longer
maintains any side structure computer modeling, including input data or files, for the 2014-2018
Kia Forte. Additionally, Kuen Bae Lee, Part Leader of KC’s Safety Performance CAE Team,
spoke to Kim Beom-Jin, Senior Researcher, Virtual Vehicle Development Department of HMIE
and has confirmed that HMIE no longer has side structure computer models, including input files,

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for the 2014-2018 Kia Forte in their records, and that HMIE did not share any such information
with any party besides KC. I have confirmed with Corinne Romefort-Régnier, CEO of ESI Korea,
that, pursuant to the confidentiality agreement, ESI Korea returned or destroyed all side structure
computer modeling, including input data/files, for the 2014-2018 Kia Forte, and ESI Korea did not
transfer any such side structure computer modeling to any other party. I have further confirmed
that KC did not share any side structure computer modeling for the 2014-2018 Kia Forte with any
other related entities or third parties. KC’s security team has further verified that no related Kia
entities have side structure computer models for the 2014-2018 Kia Forte in their records.

9. I have searched KC’s internal system and have located input files for side structure
computer models that are associated with various side impact crash scenarios for the 2019-2024
Kia Forte. Pursuant to the Court’s order, KC is producing copies of all input files as they are
maintained in the ordinary course of business by KC. Pursuant to the confidentiality agreement
with KC, I have further confirmed with Corinne Romefort-Régnier that ESI Korea returned or
destroyed all side structure computer modeling, including input data/files, for the 2019-2024 Kia
Forte and that ESI Korea did not transfer any such side structure computer modeling to any other
parties. Kim Beom-Jin of HMIE has advised KC that HMIE is in possession of input files for the
2019-2024 Kia Forte. KC expects that the contents of these input files will differ from the input
files maintained on KC’s internal system (and being produced simultaneously with this declaration)
as the input files in HMIE’s possession would be for the 2019-2024 Kia Forte side structure
computer modeling that was initially created by HMIE for KC (prior to any analysis being
conducted on the modeling). KC has requested HMIE provide the input files it maintains for side
structure computer modeling for the 2019-2024 Kia Forte, and KC will produce such information
to Plaintiff upon receipt.

10. Besides the related entities and third parties identified above, I have confirmed with
Kuen Bae Lee, Part Leader of KC’s Safety Performance CAE Team, that KC did not share any
side structure computer modeling for the 2014-2018 Kia Forte or the 2019-2024 Kia Forte with
any other related entities or third parties.

11. Additionally, pursuant to the September 4, 2024 Order (Docket No. 54), KC is also
reproducing new versions of KC’s previously produced documents without any password
protections or locks. As will be explained below, thirteen documents that were previously
produced in portable document format (“PDF”) are being reproduced in non-PDF formats. Those
thirteen non-PDF files are being produced in the same file format that KC maintains them in the
ordinary course of business.

12. KC retains most final version design, development, and testing materials for its
products in PDF or as video files. While KC materials are generated created using various types
of software, most information (but not all, as explained below) is converted from its native version
into a PDF upon finalization of the document or when the final version is uploaded to the internal
site by the design team. KC converts and maintains such information to prevent modifications and

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changes to the final versions, ensuring the integrity and authenticity of the documents, and to be
able to maintain the information in KC’s internal system.

13. There is certain information that is generated and/or created on software that is not
commercially available to the public at large and specifically licensed to KC. This type of software
generates information in formats not typically in readable text software and not viewable without
the commercially licensed software. Therefore, in order to be able to export the information out
of such software so that KC can maintain the information on its internal system, KC converts the
information into a readable software format such as. xlxs (Excel), .pptx (PowerPoint), .jpg (JPEG
Image), etc. The readable software format chosen for conversion is dependent on the type of
information that is being exported. Occasionally, as the information has already been converted
while being exported from the licensed, non-readable text software into KC’s internal system, it is
not converted again (i.e., it is left as the Excel or PowerPoint format or a similar readable format
and not converted a second time into a PDF). For reference, information originally created on
commercially available software that generates readable text, such as Excel, PowerPoint, or other
Microsoft software, is usually only converted once (from the readable text software to a PDF).

14. On review of the design, development, and testing materials produced (or being
reproduced pursuant to the Court’s September 4, 2024 Order (Docket No. 54)) in this litigation,
most of the documents are maintained by KC in KC’s internal system as PDF or video files
(approximately over 4,000 pages of information in PDF format and over 100 video files). However,
on further review of KC’s internal system for design, development, and testing information as
related to the side structure of the 2014-2018 Kia Forte model run and the 2019-2024 Kia Forte
model run, there are thirteen documents that were not originally maintained by KC as PDF or video
files that have been produced in this litigation. The following documents are being reproduced in
the original file format that is maintained in KC’s internal system in the ordinary course of business:

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5s Applicable Format(s
Document Description ea erik Main a d Bates Numbers
1 | WHS Test 2014-2018 | Excel, JPEG KC001194 —
KC001428
2 | IIHS Test 2014-2018 | Excel, JPEG KC001429 —
KC001812
3 | IIHS Test 2014-2018 | Excel, JPEG KC001813 —
KC001895
4 | IIHS Test 2014-2018 | PowerPoint KC002248 —
KC002256
5 | IHS Results 2014-2018 | PowerPoint KC002257-
KC002268
6 | Layout Drawing 2014-2018 Power Point KC002269-
KC002270
7 | FMVSS 207 Compliance 2014-2018 | JPEG KC002451 —
Test KC002543
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8 | NCAP Test 2019-2024 | JPEG KC002902 —
KC003168

9 | Side Pole Impact Test 2019-2024 | JPEG KC003283 —
KC003545

10 | ITHS Test 2019-2024 | JPEG KC003546 —
KC004031

11 | Layout Drawing 2019-2024 | PowerPoint KC004032 —
KC004033

12 | IIHS Result 2019 - 2024 | PowerPoint KC004286

13 | ITHS Results 2019-2024 | PowerPoint KC004287 —
KC004291

15. The above referenced documents are the responsive documents I have located at

this time that are not maintained by KC in PDF format or video file format that are applicable to
this litigation.

16. Wherefore, I hereby declare, under penalty of perjury according to the laws of the
United States of America and pursuant to 28 U.S.C. § 1746, that the foregoing is true and correct.

Executed this the 22™ day of October 2024, Korea Standard Time.

Do Gyun

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